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EXHIBIT A

 

 

 

 

 

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT GF TEXAS

 

SAN ANTONIO DIVISION

TAKODA HLAVATY, et al., §

Plaintiffs, §
vs. § Civil Action No. 5:16-cv-QOO949-RP
INTEGRATED PRODUCTION § n
SERVICES, INC\ §

Defendant. §

AFFIDAVIT OF SCOTT MCFARLAIN

STATE OF TEXAS §
COUNTY OF VICTORIA §

Before me, the undersigned anthority, on this day personally appeared Scott McFarlain
known to me to be the person whose name is subscribed below and who under oath did state the
following:

l. °‘My name is Scott McFarlain. I am employed by integrated Production Services,
Inc. (“IPS”) as a District l\/[anager in Victoria, Texas in the U.S. South Region. I
have been a District Manager for IPS in Victoria, Texas since May 2014. Prior to
that, I was a District Manager for lPS in Diekinson, North Dalcota beginning in
2012. i have worked for IPS since 2007. I am duly authorized to make this
Afiidavit and the matters set forth below are true and correct and are within my
own personal knowledge

2. lPS provides coil tubing services to customers in the oil and gas industry. The
coil tubing process provides a client the ability to perform a variety of services
inside the well bore using a continuous stream of steel pipe The coil tubing
process deploys tools into the well bore in order to service tire well, including

' setting plugs, cleaning out the well and drilling out plugs.

3. iPS provides a variety of equipment and employees to operate the coil tubing
equipment at the well site This includes a coil tubing unit which is transported
by two senn-trucks One senn-truck contains the Steel pipe and the other truck
transports the control center. A crane will also be utilized A fluid pump will also
be utilized Additionally, a nitrogen pump will be utilized to hold liquid nitrogen ‘
Tiiere will also be a tool trailer containing tools. Additionally, a blowout
preventer Will also be used.

 

 

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4. The coil tubing equipment would be operated by a crew of three to seven
Operators, including Coil Tubing Operators, Senior Coil Tubing Operators, Crane
Operators, Nitrogen Operators, Pump Operators, Senior Pump Operators, Coil
Tubing Helpers (collectively, “Operators”). The crew would be supervised by a

Coil Tubing Supervisor (“CT Supervisor”).

5 . I have served as District Manager with IPS in Victoria, Texas and, before that,
in Dickinson, North Dakota, for two years, since the beginning of 2012. During
that time, l have personal knowledge that all that all Operators who performed
manual labor, such as the maintenance and operation of oiliield equipment, have
been paid on an hourly basis and have received overtime for hours worked over
49 in a workweek. These hourly Operators also received daily job bonuses,
which bonuses were included in the calculation of their overtime pay. After the

downturn in the industry only Coil Tubing Operators received bonuses

6. I have never personally instructed an Operator to perform any work for which he
was not properly paid. l am also not aware that any of the supervisors in my chain
of command w including, but not limited to salary-paid Coil Tubing Supervisors,
Field Supervisors, or Operations Managers - have ever instructed an Operator to
perform work without pay. More specifically, l have never instructed any
Operators to perform “off-the-clock” Work for which they were not paid,
including, but not limited to taking work-related phone calls without pay
(exceptions noted below), servicing or driving trucks without pay, loading trucks
without pay, or refueling vehicles without pay. l am also unaware that any
supervisor in my chain of command has ever instructed any Operator to do so.
Furtherrnore, no Operator has ever complained to me that they were required to
perform work “off the clock” without pay or that their overtime pay was

calculated incorrectly

l am aware that Operators have been called or sent text messages by supervisors
following a Work shift on limited occasions More specifically, I recall that hourly
Operators may have been called by supervisors following a work shift when: (1)
a call came in from a client for ajob that was scheduled to begin the following
day and therefore a supervisor needed to contact the Operator following a work
shift to inform the Operator regarding the specihcs of the job, including the
specific job tasks and location of.the job; and/or (2) when there was an issue with
an Operator’s timesheet and the supervisor needed to contact the Operator after
work in order to resolve the discrepancy and submit the employee’s timesheet to
Cornpany Payroll in a timely manner. From personal experience, l am aware that
these situations would not have occurred very oiten, and when they did, the
telephone calls or text messages exchanged between supervisor and Operator
would have not have lasted any longer than three to five minutes on average

l am also personally aware that the Company policy regarding driving company
trucks and driving time is that when an Operator is working at the yard or on a
location close to the yard, the Operator would clock in when they arrive at the
yard in the morning and the Operator would not clock out until they leave the

 

 

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yard, after they are finished with all work activities on their shift Commute time,
meaning time traveling to and from the yard, is not compensable However, if an
Operator is working on a remote jobsite and staying in a hotel or similar living
accommodation the Operator would be paid from the time they left the hotel to
travel to the remote jobsite and the Operator would be instructed not to clock out

until they arrived back at the hotel following the work shift

 

9. From the time l became a District Manager until approximately the beginning of
2014, l arn aware that the timekeeping policy in Texas was for hourly Operators
to fill out and submit manual, hand-written timesheets showing their hours
worked on a weekly basis to their Operations Manager. Pursuant to Company
policy, the Operators would sign the timesheets, which indicated their approval
and their representation that the hours reported were true and correct to the best
of their knowledge and inclusive of all time worked The Operations Manager
would then review the timesheets and submit them to the District Manager for
approval. lf there was a discrepancy or other timekeeping issue, the supervisor or
,District l\/lanager would discuss the issue with the Operator, Once the District
Manager approved the timesheet, it would be submitted to Office Adrninistrator,
who would then transcribe the handwritten timesheets into a spreadsheet and

submit the time to Payroll for payment

l{). At approximately the beginning of 2014, hourly Operators began submitting their
time through a mobile application on their smart phones entitled “J.J. Keller.”
Through the `J.J. Keller application, Operators would also clock in and clock out
for work. The application would further record the Operators’ time worked to the
nearest minute Every other Monday afternoon, the Operators’ time would then
be transferred from the J.J. Kelier application to the Kronos electronic
timekeeping system. The Operators would then log in and review their time
entries in Kronos and approve their time. The time would subsequently be
approved by the I)istrict Manager and submitted to Cornpany Payroll in Kronos

for payment

ll. I am personally familiar with Plaintiffs Michael Hooker, Michaei Muniz, and
Jeremy Radcliffe. These individuals were employed by IPS in hourly, Operator
positions for a period of time in Victoria, Texas. None of these individuals ever
complained to me that they were not paid for work they performed “offthe clock”
or that their overtime pay was calculated incorrectly l am also not aware that
these individuals ever complained to anyone else at IPS that they were not paid
for “off the clock” work or that their overtime pay was calculated incorrectly In
my position as District Manager, l would have been informed of and/or known

about such complaints

12. Based upon a review of personnel forms, Mr. Hooker was employed as a Pump
Operator from luly 9, 2012 to ianuary 4, 2016 and worked in Victoria, Texas. For
a short time in 2015, Mr. l-looker also worked in a light duty position in the
administrative support office following an on~the~job injury. He would not have
received a daily job bonus in such role. l\/lr. Muniz was employed as a Senior

 

 

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Coil Tubing Operator nom August 1, 2011 to J'une 5, 2015 and worked in
Victoria, Texas. Mr. Radcliffe was employed as a Senior Pump Operator from
February 20, 2012 to March 3, 2016 and worked in Victoria, Texas.

13. Additionally, although l did not supervise Plaintiff Craig Nelson, a review of Mr.
Nelson’s personnel tile indicates that he was employed as a Pump Operator from
March 5, 2012 to Decernber 16, 2013 in Victoria, Texas.

Further, Aftiant sayeth not.

EXECUTED on Februaly/B_ 2017. MM

SCOTT MCFARLAIN

 

SWORN TO and SUBSCRIBED before me, the undersigned authority, on the [§'f/h{./ day
of February, 2017.

 
        

Notary Pub ic 1n r the State of Texas

   
  
 

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